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ws U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FILED

   
 
 
    

yy UNITED STATES DISTRICT COUR

FOR THE NORTHERN DISTRICT OF TE

 

  

 

 

DALLAS DIVISION APR ~4 2013
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ALLSTATE INSURANCE COMPANY etal., § Deputy
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Plaintiffs, §
§
V. § Civil Action No. 3:08-cv-0388-M
§
MICHAEL KENT PLAMBECK, D.C., §
et al., 8
§
§
§
Defendants. §
§

COURT’S CHARGE TO THE JURY

MEMBERS OF THE JURY:

GENERAL INSTRUCTIONS

 

You have now heard the evidence in this case. At this time, I will instruct you on the law
that you must apply. It is your duty to follow the law as I give it to you. On the other hand, you,
the jury, are the judges of the facts. Do not consider any question I have asked or any statement
that I have made in the course of trial or in these instructions as an indication that I have any
opinion about the facts of this case. The facts are for you to determine.

After I instruct you on the law, the attorneys will have an opportunity to make their
closing arguments. Statements and arguments of the attorneys are not evidence and are not
instructions on the law. They are intended only to assist the jury in understanding the evidence

and the parties’ contentions.

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Throughout these instructions, I will refer to the “Plaintiffs” and the “Defendants.” The
Plaintiffs in this case are Allstate Insurance Company, Allstate Indemnity Company, Allstate
Property & Casualty Company, and Allstate County Mutual Insurance Company. They will be
jointly called the “Plaintiffs.” The Defendants in this case are Kent Plambeck, D.C. (whose full
name is Michael Kent Plambeck), Michael Capobianco, D.C., Paul Grindstaff, D.C., Randall
(“Randy”) Toca, Douglas Friedman, Jennifer Giessner, Kim Von Readen (formerly Kim
Grindstaff), Charles (“Charlie”) Mora, Irma Escandon, Chiropractic Strategies Group, ‘Inc.
(“CSG”), Media Placement Services, Inc. (“MPS”), Dove Point Chiropractic Clinic, Inc.,
Brownsville Chiropractic Clinic, Inc., El Paso Chiropractic Clinic, LLC, WTC Chiropractic
Clinic, LLC, Harlingen Chiropractic Clinic, Inc., Wolfin Chiropractic Clinic, LLC, 11th Street
Chiropractic Clinic, LLC, Mainland Chiropractic Clinic, LLC, Bergstrom Chiropractic Clinic,
Inc., Laredo Chiropractic Clinic, LLC, SA Chiropractic Clinic, LLC, N. Carrier Chiropractic
Clinic, Inc., Buckner 30 Chiropractic Clinic, Inc., Hampton Chiropractic Clinic, Inc., Haltom
City Chiropractic Clinic, Inc., Congressional Chiropractic Health Center, Inc., Akron Square
Chiropractic, Inc., East Broad Chiropractic, Inc., Dayton Chiropractic, Inc., Shaker Square
Chiropractic, Inc., Shoreway Chiropractic, LLC, Vernon Place Chiropractic Health Center, Inc.,
West Broad Chiropractic, Inc., West Tusc Chiropractic, LLC, Youngstown Chiropractic, Inc.,
Arlington Chiropractic, Inc., American Chiropractic, Inc., Pearl Road Chiropractic, Inc., Mobile
Spine & Rehab Center on the Loop, Inc., and Five Points Chiropractic, Inc. They will be jointly
called the “Defendants,” only when I am referring to all of these entities and individuals
collectively.

~ You must answer all of the questions asked of you from the facts as you find them based

upon a preponderance of the evidence. By this is meant the greater weight and degree of credible

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credible evidence before you. In other words, a preponderance of the evidence means the
amount of evidence that persuades you that a claim is more likely so than not so. In determining
whether any fact has been proven by a preponderance of the evidence in the case, you may,
unless otherwise instructed, consider the testimony of all witnesses, regardless of who may have
called them, and all exhibits received in evidence, regardless of who may have produced them.
The Plaintiffs have the burden of proof by a preponderance of the evidence, except where stated
otherwise. If the proof fails to establish any essential part of the Plaintiffs’ claim by a
preponderance of the evidence, you should find for the Defendants as to that claim.

Answer each question from the facts as you find them. Do not decide who you think
should win and then answer the questions accordingly. Your answers and your verdict must be
unanimous.

You will recall that during the course of this trial I instructed you that certain testimony
and certain exhibits were admitted into evidence for a limited purpose. You may consider such
evidence only for the specific limited purposes for which it was admitted.

You are the sole judges of the credibility or believability of each witness and the weight
to be given to his or her testimony. In weighing the testimony of a witness, you should consider
his or her relationship to the Plaintiffs or the Defendants; his or her interest, if any, in the
outcome of the case; his or her manner of testifying; his or her candor, fairness and intelligence;
his or her opportunity to observe or acquire knowledge concerning the facts; and whether his or
her testimony has been supported or contradicted by other credible evidence. You may accept or
reject the testimony of any witness in whole or in part.

In determining the weight to give to the testimony of a witness, you should ask yourself .

whether there was evidence tending to prove that the witness testified falsely concerning some

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important fact, or whether there was evidence that at some other time the witness said or did
something, or failed to say or do something, that was different from the testimony the witness
gave before you during the trial. You should keep in mind, of course, that a simple mistake by a
witness does not necessarily mean that the witness was not telling the truth as he or she
remembers it, because people may forget some things or remember other things inaccurately. So,
if a witness has made a misstatement, you need to consider whether that misstatement was an
intentional falsehood or simply an innocent lapse of memory. The significance of the
misstatement may depend on whether it has to do with an important fact, or with only an
unimportant detail.

While you should consider only the evidence in this case, you are permitted to draw such
reasonable inferences from the testimony and exhibits as you feel are justified in light of
common experience. In other words, you may make deductions and reach conclusions that
reason and common sense lead you to draw from the facts that have been established by the
testimony and the evidence in this case.

The testimony of a single witness may be sufficient to prove any fact, even if a greater
number of witnesses may have testified to the contrary, if after considering all the other evidence
you believe that single witness.

There are two types of evidence that you may consider in properly finding the truth as to
the facts in this case. One is direct evidence-such as testimony of an eyewitness. The other is
indirect or circumstantial evidence-the proof of a chain of circumstances that indicates the
existence or nonexistence of certain other facts. As a general rule, the law makes no distinction
between direct and circumstantial evidence, but simply requires that you find the facts from a

preponderance of all the credible evidence, both direct and circumstantial.

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When knowledge of technical subject matter may be helpful to the jury, a person who has
special training or experience in that technical field—he is called an expert witness—is permitted .
to state his opinion on those technical matters. However, you are not required to accept that
opinion. As with any other witness, it is up to you to decide whether to rely upon it. In deciding
whether to accept or rely upon the opinion of an expert witness, you may consider any bias of the
witness, including any bias you may infer from evidence that the expert witness has been or will
be paid for reviewing the case and testifying, or from evidence that he testifies regularly as an
expert witness and his income from such testimony represents a significant portion of his
income.

Any notes that you have taken during this trial are only aids to memory. If your memory
should differ from your notes, then you should rely on your memory and not on the notes. The
notes are not evidence. A juror who has not taken notes should rely on his or her independent
recollection of the evidence and should not be unduly influenced by the notes of other jurors.
Notes are not entitled to any greater weight than the recollection or impression of each juror
about the testimony.

Demonstrative exhibits are illustrations, not evidence that will go back to the jury room.
They are a party’s description of something involved in this trial. If your recollection of the
evidence differs from a demonstrative exhibit, rely on your recollection.

Evidence that an act was done at one time or on one occasion is not any evidence or proof
that the act was done in this case. You cannot use it to reflect on any person’s character. Nor
may you consider it as evidence of any person’s propensity to act in a certain way or to commit a
specific, similar act. You may not consider any evidence of any alleged wrongful act, other than

the alleged wrongful act that Plaintiffs contend is a specific violation, as in any way bearing on

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the character of any Defendant or as an indication that any Defendant may have a propensity to
commit any of the offenses charged. You may consider evidence of similar acts for the limited
purpose of showing a Defendant’s motive, intent, or plan that is at issue in this case.

Plaintiffs contend that, at Dr. Plambeck’s direction, emails and other information of
Chateau Marketing relating to telemarketing to some or all of the chiropractic patients at issue
were destroyed after this lawsuit was filed. Defendants dispute that. If you find that a Defendant
intentionally destroyed or directed the destruction of such emails or information, you may—but
are not required to—presume that the missing evidence would have been unfavorable to
that/those Defendant(s) involved in the destruction.

Much testimony has been presented to you through depositions. Depositions are sworn,
recorded answers to questions asked a witness in advance of the trial. Under some
circumstances, if a witness cannot be present to testify from the witness stand, that witness’s
testimony may be presented in the form of a deposition, where attorneys representing the parties
in this case questioned this witness under oath. A court reporter was present and recorded the
testimony. The questions and answers were read or shown to you. Such deposition testimony is
entitled to the same consideration, and is to be judged by you as to credibility and weighed and
otherwise considered by you, insofar as possible, in the same way as if the witness had been
present and had testified from the witness stand in court.

In deciding the facts of this case, you must not be swayed by bias, prejudice, or favor as
to any party. Our system of law does not permit jurors to be governed by prejudice or sympathy
or public opinion. The parties and the public expect that you will carefully and impartially
‘ consider all of the evidence in the case, follow the law as stated by the Court, and reach a just

verdict, regardless of the consequences. A corporation and all other persons stand equal before

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the law and are to be dealt with as equals in a court of justice.
GENERAL STATEMENT OF THE CASE

Plaintiffs contend that Defendants provided unnecessary and unreasonable chiropractic
care to 555 patients involved in motor vehicle accidents who were either insured by Plaintiffs or
more frequently, the other driver was insured by Plaintiffs. Plaintiffs contend that Defendants
made fraudulent misrepresentations to Plaintiffs concerning the reasonableness and necessity of
chiropractic care provided to the 555 patients, as reflected in billings submitted to Plaintiffs.
This allegation forms the basis of Plaintiffs’ fraud and unjust enrichment claims. Plaintiffs also
allege that Defendants violated the federal and Ohio RICO statutes. I should note that you have
heard me and counsel talk about 562 patients during the trial. The actual number of claims in
issue is 555.

Defendants dispute Plaintiffs’ allegations. They contend that the 555 patients were
injured in car accidents and that chiropractic care was reasonable and necessary. They dispute
that intentional misrepresentations were made and argue that Plaintiffs did not rely on any
representations by the Defendants, but that instead they made their own decisions about the
settlement value of a claim when they investigated and adjusted it. As to the RICO claims,
Defendants also assert that the enterprise claimed did not exist, that there was no pattern of
racketeering or corrupt activity, and that Plaintiffs did not suffer any direct injury as a result of
the alleged conduct.

Those of the Defendants who did not treat patients involved in the 555 cases contend that
patient care was ultimately up to the treating chiropractors of each individual patient and that
those chiropractors provided reasonable and necessary treatment to the patients. Alternatively, if

the billing for all or any part of the treatment was unreasonable and/or unnecessary, those

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Defendants claim they had no knowledge of that because any such treatment would have been
subject to the exclusive judgment of the treating chiropractor and they did not know the details of
billing.

Among the Defendants, only Drs. Grindstaff and Dr. Capobianco rendered care to any of
the 555 patients. They contend that the services they rendered to the patients were reasonable
and necessary and that any inaccuracies in billings, such as charging for unreadable x-rays, were
unintentional. and not material, and were not relied upon by the Plaintiffs in making their
calculations as to the amounts to pay in settlements.

This is not a medical malpractice case regarding the quality of chiropractic care provided,
nor is it a legal malpractice case about the ethical conduct of lawyers. It is also not about the
quality of management of the Defendant chiropractic clinics. This case is exclusively about
billings sent to Plaintiffs for chiropractic services performed at the subject chiropractic clinics
and about what sums the Plaintiffs prove they paid for unnecessary and unreasonable
chiropractic services. You have heard testimony about whether patients of the clinics were
“shielded” during x-rays. If you find that an x-ray was needed, taken, and reasonably used by
the Defendants and billed to the Plaintiffs, you are not to consider in answering any question the
fact that a body part of the patient was not shielded.

Similarly, you have heard evidence that many of the patients went to one of the
Defendant clinics as a result of a telephone call from a representative of the clinic who obtained
the patient’s name from an accident report. Telemarketing is not illegal and it cannot be
considered as the basis of any of the Plaintiffs’ claims against the Defendants. I allowed you to
hear evidence of it solely to provide you with the background and the circumstances under which

those patients came to the clinic.

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As [have told you, 126 of the 688 claims originally sought by the Plaintiffs are no longer
before you. These claims are listed on Attachment 4 to this Charge. During trial, Plaintiffs
showed numerous documents to you from these 126 patient files, including photographs, pain
charts, x-rays, SOAP notes, 10-Point Exam forms and other clinic and patient records. Since I
had earlier ruled that the only evidence I would allow to come before you were files as to which
the Plaintiffs are seeking damages, it is now improper for you to consider any testimony or
exhibits about these 126 claims. It will be difficult, but you must be scrupulous to not consider
such evidence for any purpose. This includes all of the testimony concerning the files, notes,
charts and x-rays of these patients. Specifically, you must disregard all testimony about these
patients and the related documents which was presented:

-in the testimony of Dr. Timberlake, Dr. Baer, Dr. Jenkins, and Plaintiffs’ adjuster, Elaine
Sepulveda; and

-in the cross examination of Dr. Plambeck, Dr. Capobianco, and Dr. Grindstaff.
Nor shall you consider the testimony of Doris N. as it relates to the 126 files.

No Indiana claims are being submitted to you. Therefore, you are not to consider claim
files 659-664 nor the testimony of Linda Sweatt or Terri Coles nor that part of Dr. Ekin’s
testimony regarding patients in claim files 659-664.

SPECIAL INSTRUCTIONS
I. FEDERAL RICO CLAIM

Plaintiffs have brought claims against Defendants for alleged violations of section 1962
of title 18 of the United States Code, which is entitled the “Racketeer Influenced and Corrupt
Organizations Act,” commonly referred to as “RICO: Specifically; Plaintiffs claim that

Defendants violated sections 1962(c) and (d) of RICO.

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Plaintiffs must establish by a preponderance of the evidence every element of their RICO
claims. You should consider these elements of a RICO cause of action only in the precise way
that I will define them in these instructions. You must avoid confusing any of the elements of a
RICO claim with your prior conceptions of the meaning of the terms that are used to describe the
elements of a RICO claim. For example, the word “racketeering” has certain implications in our
society. Your prior understanding of that term in this statute has nothing to do with your
decision as to whether Plaintiffs have proven the elements of their claims under the RICO statute
against these Defendants. The term must be used only in the way it was used and defined by
Congress in the statute, and you will know what that is from my instructions to you.

A. Section 1962(c) of RICO

Focusing now on subsection (c) of section 1962, the law states, in part, as follows:

It shall be unlawful for any person employed by or associated with any enterprise

to conduct or participate, directly or indirectly, in the conduct of the enterprise’s

affairs through a pattern of racketeering activity.

To establish that Defendants have violated section 1962(c), Plaintiffs must prove each of
the following four elements for each Defendant by a preponderance of the evidence:

1, That an “enterprise” existed;

2. That the Defendant was employed by or associated with the
alleged enterprise;

3. That the Defendant knowingly and willfully conducted or
participated, directly or indirectly, in the conduct of the
affairs of the alleged enterprise; and

4. That the Defendant did so knowingly and willfully through
a pattern of racketeering activity.

In other words, to prove a claim under section 1962(c), a plaintiff must prove that a

defendant engaged in (1) conduct (2) of an enterprise (3) through a pattern (4) of racketeering

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activity (5) resulting in (6) injury to business or property. The requirements of section 1962(c)
must be established as to each Defendant individually.
1. “Enterprise”

Plaintiffs have alleged that the enterprise in this case consists of all of the following: Kent
Plambeck, Douglas Friedman, Randall Toca, Chiropractic Strategies Group, Inc., Media
Placement Services, Inc., Professional Management Group, and Law Office Network, LLC.
Plaintiffs allege that the members of the enterprise agreed to solicit people involved in
automobile accidents to obtain chiropractic services, which were not reasonable or necessary,
and to submit claims for such services to attorneys to induce Plaintiffs, who insured either those
who obtained the chiropractic services, or more often, the other drivers in the accidents, to pay
for unnecessary and unreasonable chiropractic services. This means more than an occasional
submittal of an incorrect bill or an unreasonable x-ray. It means an overall plan or scheme to
submit billings for unnecessary and unreasonable services.

A RICO enterprise can be any individual, partnership, corporation, association, or other
legal entity, or any union or group of individuals associated in fact, though not a legal entity. An
enterprise is a group of people associated together for the common purpose of engaging in a
course of conduct. The enterprise must be distinct from each of the “persons” conducting it.
Under the law, a “person” includes any legal entity, including a corporation that is capable of
holding a legal or beneficial interest in property.

In this case, Plaintiffs allege the existence of an “association-in-fact enterprise.” An
“association-in-fact” enterprise consists of persons who share a common purpose and
collectively form a decision-making structure. If the alleged enterprise is an association-in-fact,

Plaintiffs must show evidence of an ongoing organization, formal or informal, that functions as a

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continuing unit over time through a hierarchical or consensual decision-making structure.
Plaintiffs must also establish that all of the following—Kent Plambeck, Douglas
Friedman, Randall Toca, Chiropractic Strategies Group, Inc., Media Placement Services, Inc.,
Professional Management Group, and Law Office Network, LLC—actually comprised the
association-in-fact enterprise as alleged. This group may have been organized for a legitimate
and lawful purpose, or it may have been organized for an unlawful purpose. In addition to
having a common purpose, this group must have personnel who function as a continuing unit.
Additionally, the enterprise must be an entity separate and apart from the pattern of racketeering
acts (which I will define below) in which it engages. If the Plaintiffs have failed to prove that all
members alleged to comprise the enterprise were in fact members, the essential element of an
enterprise would be missing and you would be required to find no RICO violation.
If you find that this association-in-fact enterprise claimed by Plaintiffs existed, you must
also determine whether this enterprise continued, in an essentially unchanged form, during
substantially the entire period alleged by Plaintiffs.

2. “Employed by or Associated with”
The second element of a RICO claim is whether any Defendant was employed by or
associated with the enterprise about which I have instructed you. “Employed by or associated
with” means some minimal association with the alleged enterprise. To be liable under RICO, a
Defendant must know something about the alleged enterprise’s actions as they relate to the
racketeering activity. A person cannot be employed by or associated with an “enterprise” if he
does not know of the enterprise’s existence or the nature of its activities. Thus, in order to prove
this element, Plaintiffs must prove that a Defendant was connected to the enterprise in some ~

meaningful way, and that Defendant knew of the existence of the enterprise and of the general

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nature of its activities.
3. “Racketeering Activity”

“Racketeering activity” means an act in violation of (1) the federal mail fraud statute, (2)
the federal wire fraud statute, or (3) the federal statute prohibiting the transport of stolen goods
across state lines. These are called the “predicate acts.” However, you may not consider just any
racketeering act allegedly committed by a Defendant in violation of one of these statutes as
bearing on the question of whether a Defendant has committed two or more predicate offenses as
a pattern of racketeering activity.

In making this determination, you are to consider only those specific racketeering acts
alleged by Plaintiffs against a particular Defendant. Plaintiffs have alleged that each of the
Defendants has committed two or more predicate acts. It is your role to decide whether Plaintiffs
have proven by a preponderance of the evidence as to each Defendant whether that Defendant
violated the federal mail fraud, federal wire fraud, or federal statute prohibiting the transport of
stolen goods across state lines, on two or more occasions, if at all.

4. “Pattern of Racketeering Activity”

A “pattern of racketeering activity” requires that Plaintiffs prove that a Defendant
committed at least two predicate acts of “racketeering activity” within ten years of each other.
The proof of two or more predicate acts does not in and of itself establish a “pattern” under
RICO. The two predicate acts need not be of the same kind. For example, the acts may be one
act of mail fraud and one act of wire fraud. However, you must find by a preponderance of the
evidence that (1) the two acts occurred within the time specified and (2) that each was connected
with the other by some common scheme, plan, or motive so as to constitute a “pattern.” A series

of wholly separate, isolated, or disconnected predicate acts do not constitute a “pattern” of

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racketeering activity unless the acts all relate to a common scheme by a Defendant to continually
conduct the affairs of the alleged enterprise for illicit personal benefit, whether monetary or
otherwise, for himself or itself or for another, by committing the predicate offenses.

Furthermore, you cannot find that a Defendant has engaged in a “pattern of racketeering
activity” unless you unanimously agree to which of the alleged predicate offenses, if any, make
up the pattern. Thus, it would not be sufficient if some of you should find that a Defendant
committed a violation of two or more predicate offenses under one particular statute as a pattern
and the rest of you should find that a Defendant committed a violation of two or more predicate
acts under another statute as a pattern. In other words, you may not find that a Defendant has
engaged in a pattern of racketeering activity unless you unanimously, from a preponderance of
the evidence, find (1) a “pattern” of predicate offenses and (2) that a Defendant committed each
of the same two or more predicate offenses that you find make up the pattern.

5. “Predicate” or “Racketeering” Acts

a. Federal Mail and Wire Fraud Statutes

 

To establish that federal mail fraud has been committed, Plaintiffs must prove the

following as to each Defendant so charged:

1, A Defendant willfully and knowingly devised a scheme or artifice to defraud, or a
scheme for obtaining money or property by means of false pretenses,
representations or promises, and

2. A Defendant used the Postal Service or private or commercial carrier by mailing
or delivering, or by causing to be mailed or delivered, some matter or thing for the
purpose of executing the scheme to defraud.

In other words, to prove a violation of the federal mail fraud statute, Plaintiffs must prove

that a Defendant knowingly and willfully devised or intended to devise a scheme to defraud

which was substantially the same as the one alleged by Plaintiffs, and that the use of the United

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States mail, or delivery to a private or commercial carrier, was closely related to the scheme, in
that one or more of the Defendants either mailed or delivered something or caused something to
be mailed or delivered, in an attempt to execute or carry out the scheme. One causes the mails or
a private or commercial carrier to be “used” if he or it does an act with knowledge that the use of
the mails or a private or commercial carrier will follow in the ordinary course of business, or if
he or it can reasonably foresee such use.

The word “willfully,” means that the action was committed voluntarily and purposely,
with the specific intent to do something the law forbids. The action must be done with a bad
purpose: either to disobey or disregard the law.

The word “knowingly,” means that the action was done voluntarily and intentionally, and
not because of mistake or accident.

The words “scheme” and “artifice” in the federal mail fraud statute include any plan or
course of action intended to deceive others, and to obtain property from the persons so deceived
by false or fraudulent pretenses, representations, or promises. To act with “intent to defraud”
means to act knowingly and with the specific intent to deceive.

A statement or representation is “false” or “fraudulent” within the meaning of the federal
mail fraud statute if it relates to a material fact and is known to be untrue or is made with
reckless indifference as to its truth or falsity, and is made or caused to be made with intent to
defraud. A statement or representation may also be “false” or “fraudulent” if it constitutes a half
truth, or effectively conceals a material fact, with intent to defraud. A “material” fact is a fact
that would be important to a reasonable person in deciding whether to engage in a particular
transaction.

The elements of federal wire fraud are the same as for mail fraud, except that a wire,

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radio, or television communication is substituted for mail or carrier use. To prove that federal
wire fraud has been committed in this case, Plaintiffs must prove by a preponderance of the
evidence that a Defendant used a telephone or fax machine for the purpose of executing the
scheme to defraud. To establish federal wire fraud, it must be found that when the Defendant
performed an act, he or it knew, or reasonably could foresee, that a telephone or fax machine
would be used to further a scheme or artifice to defraud.

Good faith constitutes a complete defense to a federal mail or wire fraud violation.
“Good faith” means the person committing the act had a genuine belief that the information sent
or given was true. If you find that an act alleged to be fraudulent was committed by a Defendant
in good faith, then Plaintiff has not proven that mail fraud or wire fraud occurred, and you must
find for that Defendant on that issue.

b. Statute Prohibiting Interstate Transportation of Stolen Property

To establish a violation of the federal statute prohibiting the transport of stolen money
across state lines, Plaintiffs must prove by a preponderance of the evidence as to a Defendant
that:

1, A Defendant transported, transmitted, or transferred money of the

value of $5,000 or more, knowing the same to have been stolen,
converted or taken by fraud; or
2. A Defendant, having devised or intending to devise any scheme or
artifice to defraud, or for obtaining money or property by means of
false or fraudulent pretenses, representations, or promises,
transported or caused to be transported in the execution or
concealment of the scheme or artifice to defraud, money of the
value of $5,000 or more.

Knowledge or reasonable foreseeability of transport is not required to find liability. It is

enough if a Defendant set in motion a series of events which in the normal course led to the

transportation. The phrase “taken by fraud” means to deceive or cheat someone out of property

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by means of false or fraudulent pretenses, representations, or promises.

When determining whether the value of any money transported in the execution of a
scheme to defraud was $5,000 or more, you must view each incident in which Plaintiffs allege
money was transported individually. You may not aggregate separate acts of transport to find
that the value of the money transported was $5,000 or more.

6. “Nexus Between Enterprise, Defendant, and Racketeering Activity”

RICO’s third and fourth elements require that Plaintiffs prove by a preponderance of the
evidence that a Defendant knowingly and willfully conducted or participated in the conducting
of the affairs of the alleged enterprise through a pattern of racketeering activity. Plaintiffs must
prove, by a preponderance of the evidence, a sufficient connection between the enterprise, the
Defendant, and the alleged pattern of racketeering activity. In order to establish a sufficient
connection between the enterprise, the Defendant and the alleged pattern of racketeering activity,
Plaintiffs must prove by a preponderance of the evidence:

1, That a Defendant participated, directly or indirectly, in the operation or

management of the enterprise itself in such a way as to have played some

part in directing the affairs of the enterprise;

2. That the Defendant in fact engaged in the pattern of racketeering activity
as the Plaintiffs claim;

3. That the Defendant’s association with or employment by the enterprise
facilitated his commission of the racketeering acts; and

4. That the commission of these predicate acts had some direct or indirect
effect on the alleged enterprise.

A person does not violate the law by merely associating with or being employed by an
otherwise lawful enterprise, the affairs of which are being conducted by others through a pattern

of racketeering activity in which he is not personally engaged.

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B. Section 1962(d) of RICO

Plaintiffs also claim that Defendants violated section 1962(d) of RICO because
Defendants conspired to violate the RICO law. This means that Plaintiffs allege that Defendants
conspired to conduct or participate in the affairs of an enterprise through a pattern of
racketeering activity.

A “conspiracy” in this sense is a combination or agreement of two or more persons to
join together to accomplish an offense which would be in violation of section 1962(c) under the
law that I have given you above with respect to that section.

To establish a violation of section 1962(d), Plaintiffs must prove by a preponderance of

the evidence:

1. That two or more persons in some way or manner came to a mutual
understanding to attempt to accomplish a common and unlawful plan, that
is, that while being employed by or associated with an enterprise, they
engaged in activities or conducted the affairs of the alleged enterprise
through a pattern of racketeering activity, in the manner charged;

2. That a defendant knowingly and willfully became a member of a
conspiracy by objectively indicating, through his or its words or actions,
his or its agreement to conduct or participate, directly or indirectly, in the
conduct of the affairs of an enterprise through a pattern of racketeering
activity; and -

3. That at least one of the conspirators committed at least one overt act
during the existence of a conspiracy in an effort to accomplish some object
or purpose of the conspiracy.

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The definitions and instructions that I gave to you earlier as to “enterprise,” “racketeering

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activity,” “pattern of racketeering activity,” and “nexus between enterprise, defendant, and

racketeering activity” apply here as well.

With regard to the first element of the claim of conspiracy, the evidence in the case need

not show that the alleged members of the conspiracy entered into any express or formal

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agreement, or that they directly stated between themselves the details of the scheme and its
object or purpose or the precise means by which the object or purpose was to be accomplished.
Similarly, the evidence in the case need not establish that all of the means or methods alleged
were in fact agreed upon to carry out the alleged conspiracy, or that all of the means or methods
which were agreed upon were actually used or put into operation. Plaintiffs are not required to
prove that all of the persons charged with being members of the conspiracy were members or
that the alleged conspirators actually succeeded in accomplishing their unlawful objectives.

On the other hand, it is not enough if the evidence shows only that the alleged
conspirators agreed to commit the acts of racketeering alleged by Plaintiffs, without more, or that
they agreed merely to participate in the affairs of the same alleged enterprise. Instead, Plaintiffs
must prove by a preponderance of the evidence that the alleged conspirators agreed to conduct or
participate in the conduct of the affairs of the alleged enterprise and that they further agreed that
their individual participations would be through two or more racketeering acts in furtherance of
the affairs of the alleged enterprise. It does not matter that the alleged conspirators participated
in the conduct of the affairs of the alleged enterprise through different, dissimilar, or otherwise
unrelated acts of racketeering activity, so long as the alleged racketeering acts would, if they
were actually committed, create a “pattern of racketeering activity,” as I defined that phrase
above.

As to the second element of the alleged conspiracy violation—knowing and willful
membership in the conspiracy—Plaintiffs must prove by a preponderance of the evidence:

1. That a Defendant knew that the basic object of the alleged conspiracy was
conducting the alleged enterprise through a pattern of racketeering activity;

2. That a Defendant knowingly and willfully agreed to personally commit, or

aid and abet the commission of, at least two acts of racketeering as a “pattern of
racketeering activity” as J have defined it; and

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3. That a Defendant knowingly and willfully agreed to conduct or participate

in the conduct of the affairs of the alleged enterprise through this pattern of

racketeering activity.

“Aid and abet” means to assist or facilitate the commission of a crime or to promote its
accomplishment. One may become a member of a conspiracy without full knowledge of all of
the details of the unlawful scheme or without knowledge of the names and identities of all of the
other alleged conspirators. If Plaintiffs prove by a preponderance of the evidence that a
particular Defendant knowingly and willfully joined the alleged conspiracy under the three
requirements I have just set forth, it does not matter that Defendant may not have participated in
the earlier stages of the alleged conspiracy or scheme.

However, mere presence at the scene of some transaction or event, or mere similarity of
conduct among various persons and the fact that they may have associated with each other, and
may have assembled together and discussed common aims and interests, does not necessarily
prove the existence of a conspiracy. Also, a person who has no knowledge of a conspiracy, but
who happens to act in a way which advances some object or purpose of a conspiracy, does not
thereby become a conspirator.

Plaintiffs need not prove that a Defendant actually committed any of the acts that he may
have agreed to commit in order to establish his membership in the conspiracy. You may
consider only those racketeering acts alleged against a particular Defendant by the Plaintiffs in
determining whether that Defendant has agreed to commit two acts of racketeering activity as a
“pattern of racketeering activity.”

To-establish the third element, Plaintiffs must prove by a preponderance of the evidence

that at least one of the alleged conspirators committed at least one “overt act” during the

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existence of the alleged conspiracy. An “overt act” is a transaction or event, even one which
may be entirely legal and innocent when considered alone, but which is knowingly committed by
a conspirator in an effort to accomplish some object of the conspiracy.

In your consideration of this conspiracy claim, you should first determine whether the
alleged conspiracy existed. If you conclude that a conspiracy did exist as alleged, you should
next determine whether or not the Defendant under consideration willfully became a member of
that conspiracy.

In determining whether there was a conspiracy you may consider all the evidence in the
case. If you find that there was a conspiracy then you may attribute the statements or acts of the
co-conspirators to a Defendant who you find was also a member of a conspiracy. If you find that
there was no conspiracy then you may not attribute the statements or acts of a Defendant to
another Defendant.

If you find that no such conspiracy existed, then you must find for the Defendants on
section 1962(d). However, if you are satisfied ‘that such a conspiracy existed, you must
determine who were the members of that conspiracy.

If you find that a particular Defendant was a member of another conspiracy, but not the
one charged by Plaintiffs, then you must find for that Defendant. In other words, you cannot find
that a Defendant violated section 1962(d) unless you also find that the Defendant was a member
of the conspiracy charged, and not some other separate conspiracy.

C. Causation under RICO -

For Plaintiffs to prevail under RICO, they must prove by a preponderance of the evidence

that a Defendant’s RICO violations were the “proximate cause” of injury to the Plaintiffs’

business or property. Therefore, you must find that Plaintiffs suffered an injury to their business

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or property and that the injury was caused “by reason of” the Defendants’ violation of RICO. A

person is injured in his or its business when he or it suffers loss of money or profits or a

reduction in the value or worth of his business.

Plaintiffs have alleged 555 instances in which they claim they were injured or damaged
by Defendants’ violations of the RICO Act. Each of these 555 claims must be proved
independently. An injury or damage is proximately caused when the act played a substantial part
in bringing about or actually causing the Plaintiffs’ injury or damage, and that the injury or
damage was either a direct result or a reasonably probable consequence of the act.

To find that injury to the Plaintiffs’ business or property was caused “by reason of” a
Defendant’s violation of RICO, you must find that the injury to the Plaintiffs was caused by, and
was a direct result of a Defendant’s violation of either section 1962(c) or (d). Therefore, you
must find that the commission of the acts of racketeering, or the pattern of racketeering activity,
or the conduct of the affairs of the enterprise through the pattern of racketeering activity, if you -
find any, directly resulted in the injury or played a substantial role in producing the injury.
Plaintiffs allege that Defendants misrepresented to them, or caused to be misrepresented
to them, that, with regard to the 555 individual claims in this case, reasonable and necessary
chiropractic care was provided to the patients at issue when it was not. Therefore, to find that
injury to the Plaintiffs’ business or property was caused “by reason of” the Defendants’ violation
of RICO, you must find that Defendant made the misrepresentation that the chiropractic care was
reasonable and necessary and that as a result of that misrepresentation, Plaintiffs were injured.
In connection with their damage claims, Plaintiffs must prove that they made payments for
specific chiropractic bills, in specific amounts. as to each of the individual claims that comprise

the 555 claims made the basis of this suit, because of a representation made by a Defendant that

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the bills were reasonable and necessary when they were, in whole or in part, not reasonable or
necessary and that the Plaintiffs’ injury was a direct result of such representation.
HW. OHIO RICO (OHIO CORRUPT PRACTICES ACT)

Plaintiffs have also alleged that with regard to patient numbers 478-490, 492-502, 504—
509, 511-512, 514-515, 521-527, 531, 533-542, 544-546, 548-560, 562-575, 578-87, 589-
595, 597-600, 602, 604-608, 610-615, 617-619, 621, 624-630, 635, 639-647, Defendants
violated the Ohio Corrupt Practices Act. The thrust of the Ohio Corrupt Practices Act is similar
to the federal RICO Act discussed above.

In order for Plaintiffs to recover under the Ohio Corrupt Practices Act, you must find by a
preponderance of the evidence the four elements of section 1962(c) of RICO that I have
described for you beginning at page 10 of the Charge. To prove the level of association
necessary to support a violation of the Ohio Corrupt Practices Act, Plaintiffs also must prove by
a preponderance of the evidence that a Defendant charged was voluntarily connected to the
pattern of corrupt activity comprising the enterprise, and performed two or more acts in
furtherance of it, and the existence of a “pattern of corrupt activity” which requires proof of at
least two incidents of corrupt activity within six years of one another, one of which must have
occurred after January 1, 1986.

Under the Ohio Corrupt Practices Act, “corrupt activity” includes the predicate offenses
described above for federal RICO (federal mail and wire fraud and the federal statute prohibiting
the transport of stolen money), as well as specified violations of Ohio law. The predicate
offenses alleged in this case are the federal violations described above and violations of the Ohio

telecommunications fraud statute and the Ohio insurance fraud statute.

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a. Ohio-Specific Predicate Offenses

A person violates the Ohio telecommunications fraud statute when that person, having
devised a scheme to defraud, knowingly disseminates, transmits, or causes to be disseminated or
transmitted by means of a wire, radio, satellite, telecommunication, telecommunications device,
or telecommunications service any writing, data, sign, signal, picture, sound, or image with the
purpose to execute or otherwise further the scheme to defraud.

A person violates the Ohio insurance fraud statute when that person, with the purpose to

defraud or knowing that he is facilitating a fraud,

1) presents, or causes to be presented to, an insurer any written or oral statement that
is part of, or in support of, an application for insurance, a claim for payment
pursuant to a policy, or a claim for any other benefit pursuant to a policy,
knowing that the statement, or any part of the statement, is false or deceptive; or

2) assists, aids, abets, solicits, procures, or conspires with another to prepare or make
any written or oral statement that is intended to be presented to an insurer as part
of, or in support of, an application for insurance, a claim for payment pursuant to
a policy, or a claim for any other benefit pursuant to a policy, knowing that the
statement, or any part of the statement, is false or deceptive.

When you are determining whether a person violated the Ohio insurance fraud statute, consider

the following:

“statement” includes, but is not limited to, any notice, letter, or
memorandum; proof of loss; bill of lading; receipt for payment;
invoice, account, or other financial statement; estimate of property
damage; bill for services; diagnosis or prognosis; prescription;
hospital, medical, or dental chart or. other record; x-ray,
photograph, videotape, or movie film; test result; other evidence of
loss, injury, or expense; computer-generated document; and data in
any form;

“deceptive” means that a statement, in whole or in part, would
cause another to be deceived because it contains a misleading
representation, withholds information, prevents the acquisition of
information, or by any other conduct, act, or omission creates,

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confirms, or perpetuates a false impression, including, but not

limited to, a false impression as to law, value, state of mind, or

other objective or subjective fact.

Il. FRAUD CLAIM
Plaintiffs also have sued Defendants for fraud. Plaintiffs contend that Defendants,

personally or through agents, made or caused to be made false and fraudulent material
misrepresentations of fact to Plaintiffs concerning the reasonableness and necessity of treatment.
Fraud occurs when a party makes:

1) a material misrepresentation;

2) the misrepresentation is made with knowledge of its falsity or made recklessly
without any knowledge of the truth and as a positive assertion;

3) the misrepresentation is made with the intention that it should be acted on by the
other party; and

4) the other party relies on the misrepresentation and thereby suffers injury.

“Misrepresentation” means either

1) a false statement of fact;

2) a statement of opinion based on a false statement of fact;

3) a statement of opinion that the maker knows to be false; or

4) an expression of opinion that is false, made by one claiming or implying to have

special knowledge of the subject matter of the opinion. “Special knowledge”
means knowledge or information superior to that possessed by the other party and
to which the other party did not have equal access.
To prove fraud, Plaintiffs must prove that they actually relied on Defendants’ alleged
misrepresentations; in other words, that Plaintiffs’ adjusters paid money to resolve a claim of a
patient treated by the Defendants because the adjuster in fact believed and relied on Defendant’s .

representations reflected in documents that Defendants intended would be submitted to Plaintiffs

as part of a claim for payment from Plaintiffs. Plaintiffs can establish reliance on a

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representation where the Plaintiffs actually relied upon a representation and where they did not
have knowledge of facts which would put a reasonably prudent person on notice that a further
investigation was necessary. If the Plaintiffs made their own unhindered investigation of the
facts, they cannot have relied upon the misrepresentations of others.

To act “knowingly” means that the act was done voluntarily and intentionally, not
because of mistake or accident. Plaintiffs allege that Defendants misrepresented to them, or
caused to be misrepresented to them, that the chiropractic care and treatment provided by
Defendants to the patients at issue in each of the 555 claims was reasonable and necessary.

You are instructed that if you find that care was given for legitimate injuries which were
aggravated by negligent or mistaken treatment by the treating chiropractor, that does not
constitute unreasonable or unnecessary care for which Plaintiffs may recover.

Plaintiffs are seeking to recover for 555 individual acts of fraud. If Plaintiffs do not
prove each of the elements of fraud for any individual claim(s), they cannot recover for that
claim. For each of the 555 acts of fraud alleged by Plaintiffs, you may not find that a Defendant
has engaged in fraud unless you unanimously find that each of the elements of fraud for that
specific file has been proven by a preponderance of the evidence.

IV. CONSPIRACY TO DEFRAUD

Plaintiffs have also sued Defendants alleging conspiracy to defraud them. A conspiracy is
a combination by two or more persons to accomplish an unlawful purpose, or to accomplish a
lawful purpose by unlawful means. To be part of a conspiracy, a Defendant and another person
or persons must have had knowledge of, agreed to, and intended, a common objective or course
of action, in this case fraud, which resulted in damages to Plaintiffs. One or more persons

involved in the conspiracy must have performed some act or acts to further the conspiracy. The

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fraud alleged here is generating bills that were not reasonable or necessary intending that they
would be paid by Plaintiffs.
V. UNJUST ENRICHMENT CLAIM

Plaintiffs have also sued certain Defendants for “unjust enrichment.” Plaintiffs allege
that certain Defendants have been unjustly enriched by payments made by Plaintiffs to them,
directly or indirectly.

A plaintiff may recover money for “unjust enrichment” when a defendant has obtained a
benefit from the plaintiff by fraud, duress, or the taking of an undue advantage. To establish such
a claim, Plaintiffs must establish by a preponderance of the evidence:

(1) a benefit, conferred because of fraud, duress, or the taking of an undue
advantage;

(2) upon a Defendant;

(3) knowledge by the Defendant of the benefit; and

(4) retention of the benefit by the Defendant under circumstances where it would

be unjust to do so without payment.

VI. COMPENSATORY DAMAGES

If Plaintiffs have proven their claims against Defendants by a preponderance of the
evidence, you must determine the damages to which Plaintiffs are entitled. You should not
interpret the fact that I have given instructions about Plaintiffs’ damages as an indication in any
way that I believe that Plaintiffs should, or should not, win this case. It is your task first to
decide whether Defendants are liable. I am instructing you on damages only so that you will
have guidance in the event you decide that any Defendants are liable and that Plaintiffs are
entitled to recover money from them.

If you find that Defendants are liable to Plaintiffs, then you must determine an amount

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that is fair compensation for all of the Plaintiffs’ damages, no more and no less. These damages
are called compensatory damages. The purpose of compensatory damages is to make Plaintiffs
whole—that is, to compensate Plaintiffs for the damage that Plaintiffs have suffered.

You may award compensatory damages only for injuries that Plaintiffs prove were
proximately caused by Defendants’ allegedly wrongful conduct. Compensatory damages are not
allowed as a punishment and cannot be imposed or increased to penalize a Defendant. You
should not award compensatory damages for speculative injuries, but only for those injuries
which the Plaintiffs have actually suffered.

If you decide to award compensatory damages, you should be guided by dispassionate
common sense. Computing damages may be difficult, but you must not let that difficulty lead
you to engage in arbitrary guesswork. On the other hand, the law does not require that Plaintiffs
prove the amount of their losses with mathematical precision, but only with as much definiteness
and accuracy as the circumstances permit.

You must answer each question separately and award damages, if appropriate,
independently of damages which you may award under any other question.

VII. FEDERAL AND OHIO RICO DAMAGES

In considering damages, if any, with respect to the RICO claims, you must assess the
amount you find justified by a preponderance of the evidence as full, just, and reasonable
compensation for all of the damages to Plaintiffs in their business or property resulting from any
RICO violations you have found. Damages may not be based on speculation.

Under RICO, Plaintiffs may recover only for injury to their business or property. You
‘should consider the amount of damages, if any, as to the Defendant with respect to the federal

and Ohio RICO claims separately and independently from the amount of damages, if any, with

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respect to the other, non-RICO claims.

The damages alleged by Plaintiffs fall into one basic category; that is, amounts paid by
Plaintiffs for 555 claims. Plaintiffs assert that as a result of actions by the Defendants, they were
presented with bills for chiropractic services which were not reasonable or necessary. In order to
recover damages, Plaintiffs must demonstrate what portion, if any, of the amounts paid for each
of the 555 patients was the direct result of Defendants having bills generated for particular
services that were not reasonable or necessary, by reason of violations of federal or Ohio RICO
laws.

VII. FRAUD DAMAGES

In considering the issue of damages, if any, with respect to Plaintiffs’ fraud claims, you
must assess the amount you find justified by a preponderance of the evidence as necessary to
compensate Plaintiffs for a Defendant’s fraud.

Plaintiffs assert that they were presented with bills for chiropractic services which were
not reasonable or necessary when treating patients to whom Plaintiffs owed liability for medical
care. While Plaintiffs settled these claims, they allege that these settlement expenses would have
been less had Defendants not billed for services which were not reasonable or necessary.
Defendants, on the other hand, assert that Plaintiffs settled these claims for many reasons
unrelated to billings for chiropractic care and that Plaintiffs cannot prove that they suffered any
specific, quantifiable actual harm as a result of Defendants’ billings. Plaintiffs may only recover
the difference, if any, which they have proven by a preponderance of the evidence, between the
value of any reasonable and necessary chiropractic services received by the patients and the
amount Plaintiffs proved was paid in settlement and attributable only to chiropractic services, if

any.

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JURY QUESTIONS
QUESTION 1 (Federal Rico Act: Section 1962(c))

Do you find from a preponderance of the evidence that (1) an enterprise comprised of all
of Kent Plambeck, Douglas Friedman, Randall Toca, Chiropractic Strategies Group, Inc.
(“CSG”), Media Placement Services, LLC (“MPS”), Professional Management Group, LLC, and
Law Office Network, LLC, existed and that (2) the subject Defendant was employed by or
associated with that enterprise and that (3) that Defendant knowingly and willfully conducted or
participated, directly or indirectly, in the conduct of the affairs of the enterprise through a pattern
of racketeering activity?

Answer this Question “yes” or “no” as to each Defendant on Question 1 of Attachment 1. If you
answered “yes” as to any Defendant in Question 1, then continue to Question 2. If you answered
“no” for every Defendant on Question 1, then go to Question 3.

QUESTION 2 (Federal Rico Act: Section 1962(d))

Do you find from a preponderance of the evidence that the subject Defendant entered into
a conspiracy with another person to conduct or participate, directly or indirectly, in the conduct
of the affairs of an enterprise comprised of all of Kent Plambeck, Douglas Friedman, Randall
Toca, Chiropractic Strategies Group, Inc. (“CSG”), Media Placement Services, LLC (“MPS”),
Professional Management Group, LLC, and Law Office Network, LLC, through a pattern of

racketeering activity, while employed by or associated with such enterprise?

Answer this Question “yes” or “no” as to each Defendant on Question 2 on Attachment 1. Then
continue to Question 3.

QUESTION 3 (Qhio RICO Act)
Do you find from a preponderance of the evidence that (1) an enterprise comprised of all
of Kent Plambeck, Douglas Friedman, Randall Toca, Chiropractic Strategies Group, Inc.

(“CSG”), Media Placement Services, LLC (“MPS”), Professional Management Group, LLC, and

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IX. UNJUST ENRICHMENT DAMAGES
In considering the issue of damages, if any, with respect to Plaintiffs’ unjust enrichment
claims, you must assess the amount, if any, you find to be justified as necessary to compensate

Plaintiffs for any unjust enrichment of a Defendant.

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Office Network, LLC, existed and that (2) the subject Defendant was employed by or associated
with that enterprise and that (3) that Defendant knowingly and willfully conducted or
participated, directly or indirectly, in the conduct of the affairs of the enterprise through a pattern
of corrupt activity?

Answer this Question “yes” or “no” as to each Defendant on Question 3 on Attachment 1. Only
if you answered “yes” as to any Defendant on Questions 1, 2, or 3, continue to Question 4.
Otherwise go to Question 5.

QUESTION 4 (Federal and Ohio RICO Damages)

What sum of money, if any, do you find from a preponderance of the evidence would
reasonably compensate Plaintiffs for actual damages, if any, to their business or property by
reason of the federal or Ohio RICO Act violation found by you in your answers to Question 1-3?
For each claim file as to which you conclude Plaintiffs suffered RICO damages, answer in

dollars and cents, or zero, as to each of the claim files on Question 4 on Attachment 1. Continue
to Question 5.

QUESTION 5 (Fraud)

Do you find from a preponderance of the evidence that the subject Defendant committed
fraud by having bills generated for chiropractic services that were unnecessary or unreasonable,
with the intent that such billings would be submitted to Plaintiffs for payment?

Answer “yes” or “no” for each Defendant on Question 5 on Attachment 2. If you answered
“yes” as to any Defendant on Question 5, then continue to Question 6. If you answered “no” for
every Defendant on Question 5, then go to Question 8.

QUESTION 6 (Conspiracy to Commit Fraud)

Do you find from a preponderance of the evidence that the subject Defendant was part of
a conspiracy to commit fraud by having bills generated for chiropractic services that were

unnecessary or unreasonable, with the intent that those bills would be submitted to Plaintiffs for

payment?

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Answer “yes” or “no” for each Defendant on Question 6 on Attachment 2. If you answered
“yes” as to any Defendant on Questions 5 or 6, continue to Question 7. If you answered “no” as
to all Defendants in your answers to Questions 5 or 6, continue to Question 8.
QUESTION 7 (Fraud Damages)

As to any claim for which you found a Defendant committed fraud or conspired to
commit fraud, what sum of money, if any, if paid now in cash, would fairly and reasonably
compensate Plaintiffs for their damages, if any, that were proximately caused by a Defendant’s

fraud or conspiracy to commit fraud?

For each Defendant for which you answered “yes” in answer to Questions 5 or 6, answer in
dollars and cents, or zero, as to each claim on Attachment 2. Continue to Question 8.

QUESTION 8 (Unjust Enrichment) -

Was a Defendant unjustly enriched by receiving money paid by Plaintiffs in settlement of
any of the claims in issue?
Answer “yes” or “no” for the listed Defendants on Question 8 on Attachment 3. As to any listed
Defendant as to whom or which you answer “yes,” answer Question 9 as to that Defendant. If
you answer “no” as to all listed Defendants, you have completed your answers to the questions.
QUESTION 9 (Unjust Enrichment)

As to each claim for which you found a Defendant was unjustly enriched in answer to
Question 8, what sum of money, if paid now in cash, represents the amount by which that

Defendant was unjustly enriched?

For each Defendant as to whom or which you answered “yes” in answer to Question 8, answer
Question 9 in dollars and cents, or zero, on Attachment 3 as to that Defendant.

GO TO THE LAST PAGE OF THE CHARGE WHERE THE VERDICT FORM IS TO
BE SIGNED.

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JUROR’S DUTIES AND DELIBERATIONS, COMMUNICATION WITH THE COURT

It is your sworn duty as jurors to discuss the case with one another in an effort to reach an
agreement, if you can do so. Each of you must decide the case for yourself, but only after full
consideration of the evidence with the other members of the jury. While you are discussing the
case, do not hesitate to reexamine your own opinion and change your mind if you become
convinced that you are wrong. However, do not give up on your honest beliefs solely because
the others think differently, or merely to finish the case. Remember that in a very real way you
are the judges—judges of the facts. Your only interest is to seek the truth from the evidence in
the case.

During the trial, the court reporter made a verbatim record of the proceedings. The court
rules do not provide for testimony to be produced for the jury in written form, or for testimony to
be read back to the jury as a general aid in refreshing juror’s memories. In limited
circumstances, the Court may direct the court reporter to read testimony back to the jury in open
court. This is done, however, only when the jury certifies that it disagrees as to the testimony of
a particular witness, and identifies the specific testimony in dispute.

When you retire to the jury room to deliberate, you will be given this charge and the
exhibits that the Court has admitted into evidence. Then select your Foreperson and conduct
your deliberations. If you recess during your deliberations, follow all of the instructions that I
have given you concerning your conduct during the trial. After you have reached a unanimous
verdict, your Foreperson must fill in your answers to the written question and sign and date the
verdict form. Unless I direct you otherwise, do not reveal your answers until such time as you
are discharged. Unless instructed otherwise, you are not to disclose your numerical division on

any question.

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If you want to communicate with me at any time, please give a written message to the
Court Security Officer, who will bring it to me. I will then respond as promptly as possible
either in writing or by meeting with you in the courtroom. I will always first show the attorneys
your question and my response before I answer your question. After you have reached a verdict,
you are not required to talk with anyone about the case unless I order you to do so. You may

now retire to the jury room to conduct your deliberations.

Dated: t / , 2013.

 

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VERDICT OF THE JURY
We, the jury, have answered the above questions as indicated, and return the same to the

Court as our verdict.

Date: \ NgrilQol3 |

 

 

Foreperson

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ATTACHMENT 1

 

Federal and Ohio RICO Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

QUESTION 1. QUESTION 2
List of Defendants:
Answer “yes” or | Answer “yes” or Answer “yes” or
“no” , no” : “no”

1 | Kent Plambeck (“Plambeck”) Nes Nes Ves
2 | Michael Capobianco (“Capobianco”) Nes Yes Ves
3. | Paul Grindstaff (“Grindstaff’) Y eS Nes Yes
4 | Randall “Randy” Toca (“Toca”) Yes Nes Ves
5 | Douglas Friedman (“Friedman”) Ves Yes Nes
6 | Jennifer Giessner (“Giessner’”) Yes Nes Nes
7 | Kim Von Readen (“Von Readen’”) Yes Nes Ne
8 | Charles “Charlie” Mora (“Mora”) Yes Nes Ve
9 | Irma Escandon (“Escandon”) Yes Yes No
10 | Chiropractic Strategies Group, Inc. (“CSG”) Yes Nes les
11 | Media Placement Services, Inc. (“MPS”) Ves Nes Nes
12 | Dove Point Chiropractic Clinic, Inc. Yes Nes No ~
13. | Brownsville Chiropractic Clinic, Inc.

(“Mesquite Chiropractic”) Yes Ves No
14 | El Paso Chiropractic Clinic, LLC (‘Eastwood

Chiropractic and Central Chiropractic”) Ye 5 Nes No
15 | WTC Chiropractic Clinic, LLC (‘Weslaco

Chiropractic’) Yes Nes No
16 | Harlingen Chiropractic Clinic, Inc. Ves Yes Ne
17 | Wolfin Chiropractic Clinic, LLC

(“Washington Street Chiropractic”) Ves Nes Ne
18 | 11th Street Chiropractic Clinic, LLC Nes Yes Ne
19 | Mainland Chiropractic Clinic, LLC Nes Yes N}>
20 | Bergstrom Chiropractic Clinic, Inc. (“Ben

White Chiropractic”) Nes Yes We

 

 

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23 | N. Carrier Chiropractic Clinic, Inc. (“Grand

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24 | Buckner 30 Chiropractic Clinic, Inc. Yes Yes Ne
25 | Hampton Chiropractic Clinic, Inc. Yes Ves Veo
26 | Haltom City Chiropractic Clinic, Inc. Yes Yes Ne
27 | Congressional Chiropractic Health Center,

Inc. (“Old Town Chiropractic”) Yes Nes \| eS
28 | Akron Square Chiropractic, Inc. Gncluding

“Arlington Chiropractic”) Nes Yes Nes
29 | East Broad Chiropractic, Inc. Yes Ve S Nes
30 | Dayton Chiropractic, Inc. (“Northside .

Chiropractic’) Yes X es Y @s
31 | Shaker Square Chiropractic, Inc. Yes Yes Nes
32 |} Shoreway Chiropractic, LLC Yes Yes Nes
33 | Vernon Place Chiropractic Health Center, Inc. Yes Yes Ves5
34 | West Broad Chiropractic, Inc. (sometimes

called “Westgate Family Health”) Yes Ves Ves
35 | West Tusc Chiropractic, LLC Yes Yes Wes
36 | Youngstown Chiropractic, Inc. Yes Nes Yes
37 | American. Chiropractic, Inc. Yes Yeo Yes
38 | Pearl Road Chiropractic, Inc. Yes Ves Nes
39 | Mobile Spine & Rehab Center on the Loop,

Inc. Yes Yes No
40 | Five Points Chiropractic, Inc. Wes Yes Va

 

 

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ATTACHMENT 2

 

FRAUD

 

List of Defendants:

QUESTION 5

Answer “yes” or

QUESTION 6

Answer “ves” or

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: “nO” “no”

1_| Kent Plambeck Yes Nes
2 | Michael Capobianco Yes Ves
3 | Paul Grindstaff Yes Nes
4 | Randall “Randy” Toca Nes Nes
5 | Douglas Friedman Ves Yes
6 | Jennifer Giessner Yes Yes
7 | Kim Von Readen Yes Ves
8 | Charles “Charlie” Mora \es Yes
9 | Irma Escandon (Vo Nodes FOL
10 | Chiropractic Strategies Group, Inc. Nes Yes
11 | Media Placement Services, Inc. Nes Nes
12 | Dove Point Chiropractic Clinic, Inc. Nes Yes
13 | Brownsville Chiropractic Clinic, Inc.

(“Mesquite Chiropractic”) Ye 5 \ eS
14 | El Paso Chiropractic Clinic, LLC (“Eastwood

Chiropractic and Central Chiropractic’) \les Yes
15 | WTC Chiropractic Clinic, LLC (“Weslaco

Chiropractic”) Ye 5 Y CS
16 | Harlingen Chiropractic Clinic, Inc. Yes Yes
17 | Wolfin Chiropractic Clinic, LLC

(“Washington Street Chiropractic”) Nes Ves
18 | 11th Street Chiropractic Clinic, LLC \es Ye 5
19 | Mainland Chiropractic Clinic, LLC Yes Ve S
20 | Bergstrom Chiropractic Clinic, Inc. (“Ben .

White Chiropractic’’) \ e\S Ye 9

 

 

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QUESTION 5 QUESTION 6
List of Defendants: Answer “yes” or | Answer “yes” or
“no” “no”

21 | Laredo Chiropractic Clinic, LLC (“Rio -

Grande Chiropractic”) v eS \es
22 | SA Chiropractic Clinic, LLC (“Leon Valley
Chiropractic’) Ye 5 Nes
23 | N. Carrier Chiropractic Clinic, Inc. (“Grand \

Prairie Chiropractic”) \ es le 5
24 | Buckner 30 Chiropractic Clinic, Inc. Yes Nes
25 | Hampton Chiropractic Clinic, Inc. Ves Yes
26 | Haltom City Chiropractic Clinic, Inc. Nes Yes
27 | Congressional Chiropractic Health Center, ,

Inc. (“Old Town Chiropractic’) \ es Ve S$
28 | Akron Square Chiropractic, Inc. (including .

“Arlington Chiropractic”) es Nos
29 | East Broad Chiropractic, Inc. Yes Veg
30 | Dayton Chiropractic, Inc. (‘Northside

Chiropractic”) \| es Ve 5
31 | Shaker Square Chiropractic, Inc. Yes Ves
32 | Shoreway Chiropractic, LLC Ves Yes
33 | Vernon Place Chiropractic Health Center, Inc. Yes Yes
34 | West Broad Chiropractic, Inc. (sometimes

called “Westgate Family Health”) \ 0s Ves
35 | West Tuse Chiropractic, LLC Ye $ Ye Ss
36 | Youngstown Chiropractic, Inc. Yes Yes
37 | American Chiropractic, Inc. Yes Yes
38 | Pearl Road Chiropractic, Inc. Yos Nes
39 | Mobile Spine & Rehab Center on the Loop,

Inc. Yes Yes
40 | Five Points Chiropractic, Inc. Yes Yes

 

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4 PagelD 36091

Answer as to each of the following Defendants.

QUESTION 7: FRAUD DAMAGES

The following patients had services performed in Texas.

 

 

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Capobianco

Grindstaff

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a The following patients had services performed in Ohio.

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ATTACHMENT 3

 

Unjust Enrichment

 

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4 | El Paso Chiropractic Clinic, LLC (“Eastwood
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5 | WTC Chiropractic Clinic, LLC (‘Weslaco '
Chiropractic”) Ye 5
6 | Harlingen Chiropractic Clinic, Inc. Nes
7 | Wolfin' Chiropractic Clinic, LLC
(“Washington Street Chiropractic’) Ve S
8 | 11th Street Chiropractic Clinic, LLC Yes
9 | Mainland Chiropractic Clinic, LLC Ves
10 | Bergstrom Chiropractic Clinic, Inc. (Ben \
White Chiropractic’) | es
11 | Laredo Chiropractic Clinic, LLC (“Rio
Grande Chiropractic’’) Vo 5
12 | SA Chiropractic Clinic, LLC (“Leon Valley
Chiropractic”) \| es
13 | N. Carrier Chiropractic Clinic, Inc. (“Grand
Prairie Chiropractic’’) \e Ss
14 | Buckner 30 Chiropractic Clinic, Inc. Ye
15 | Hampton Chiropractic Clinic, Inc. Ves
16 | Haltom City Chiropractic Clinic, Inc. Vos
17 | Congressional Chiropractic Health Center,
Inc. (“Old Town Chiropractic’) Ye Ss
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Akron Square Chiropractic, Inc. (including

 

 

 

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22 | Shoreway Chiropractic, LLC Ye g
23 | Vernon Place Chiropractic Health Center, Inc. Yes
24 | West Broad Chiropractic, Inc. (sometimes

called “Westgate Family Health”) Ve 5
25 | West Tusc Chiropractic, LLC Ves
26 | Youngstown Chiropractic, Inc. Ves
27 | American Chiropractic, Inc. Ves
28 | Pearl Road Chiropractic, Inc. Ves
29 | Mobile Spine & Rehab Center on the Loop,

Inc. Ye F
30 | Five Points Chiropractic, Inc. Ve 5

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Question 9: Unjust Enrichment Damages

 

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The following patients had services performed in Ohio. Answer as to each of the following Defendants:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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ATTACHMENT 4

Chart of patient (claim) files not to be considered by you for any purpose whatsoever.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Patient | Claimant Claimant First
# Last Initial Name

2 P. Amber

3 R. Sonia

6 V. Patricia

7 Ss. Kenny

8 A. Ashlee
11 D. Ramona
13 G. Enrique
20 Z. Carolina
37 S. Rosalinda
46 O. Jose

47 O. Maria

48 G. Nancy
49 G. Jonathan
79 A. Joshua
88 G. Angelica
93 V. Roberto
101 C. Procopio
119 C. Alicia
122 H. Evelyn
127 C. Glendaly
161 G. Juan

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

162 M. Evangelina
165 W. Amber
166 Z. Jaime

176 E. Jerry

177 M. Leticia
178 E. Desirre
183 G. Barbara
184 G. Samantha
186 H. Isidra

187 G. Maria
188 G. San Juana
190 R. Cecilio
191 R. Nicole
192 L. Laura

196 G. Maricela
197 H. Beatriz
198 H. Odilia
199 H. Sandra
200 Q. Nydia
201 C. Myra

208 G. David
209 A. Josefina
215 R. Rolando
222 M. Manuel

 

 

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232 A. Martha
237 M. Carlos

251 A. Julissa
302 B. Humberto
327 M. Jose Manuel
351 R. Maria

352 R. Edgar

365 A. Noemi Morales
367 R. Faustino
371 C. Pablo

393 M. Shai Anne
394 H. Julien

398 L. Steven
408 R. Angel

409 P. Maria

410 P. Norma
411 E. Jose

413 C. Felix

417 C. Estella
418 H. Jorge

425 D. Lawrence
429 S. Alyssa
431 B. Gabriela
432 F. Jose

433 F, Jorge

434 F, Ana Delia
441 G. Jessie

442 G. Estrella

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

467 O. Veronica
468 O. Adrian
469 O. Isaac

471 H. Petra
472 H. Patricio
473 K. Eddie
474 M. Emma
491 C. Danielle
503 H. Randal
510 W. Ramona
513 T. Kenyatta
516 M. James
517 T. Clarence
518 N. Kathy
519 F. Ahmad
520 S. Heather
528 B. Trina
529 C. Jacqueline
530 F, David
532 S. Foster
543 L. Anicia
547 R. Keyna
576 W. Michael
577 O. Christian
588 D. Takeyria
596 W. Everett F.
601 C. Shaunda
620 G. Reole

 

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631 H. William
632 H. Patricia
633 S. Patrick
648 J. Denise
649 T. Toya
650 T. Valerie
651 M. Tshawn
652 M. Marcus
653 B. Angeline
654 W. Quinn
655 M. Michael

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

656 S. Debra
657 C. Mary
658 W. Tracy
665 A. Juan
667 H. Tissia
668 F, Robert
669 J. Brittany
685 B. Alvea
686 N. Doris
687 M. Doris
688 C. Tommy

 

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